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                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

 IN RE                                          :      CHAPTER 13
                                                :
 PATRICIA RENEE WEST,                           :      CASE NO. 17-60670-CRM
                                                :
      Debtor.                                   :
 __ __ __ __ __ __ __ __ __ __ __               :    __ __ __ __ __ __ __ __ __ __ __
 BMW BANK OF NORTH AMERICA,                     :
                                                :
       Movant,                                  :
                                                :
 v.                                             :      CONTESTED MATTER
                                                :
 PATRICIA RENEE WEST, Debtor; and               :
 NANCY J. WHALEY, Trustee,                      :
                                                :
       Respondents.                             :
                                                :
                                                :
                                                :



                   MOTION FOR RELIEF FROM AUTOMATIC STAY

       NOW COMES BMW BANK OF NORTH AMERICA (the "Movant") and moves this
Court for relief from the automatic stay and shows the Court as follows:
                                               1.
       On June 16, 2017, Patricia Renee West ("Debtor") filed a Voluntary Petition pursuant
to 11 U.S.C. Chapter 13, and said case is pending before this Court.
                                               2.
       Movant has a claim in this case secured by a first priority lien against Debtor's vehicle,
to wit: 2013 BMW X5 VIN 5UXZV4C53D0B03637 (the "Collateral").The payoff is
$36,589.54 as of August 7, 2017.
                                               3.
       Debtor's intention is to surrender the Collateral to Movant. Debtor’s proposed Chapter
13 Plan provides for surrender.
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                                                 4.
       Debtor does not have equity in the Collateral and the Collateral is not necessary to a
reorganization that is in prospect.
                                                 5.
       Cause exists including the lack of adequate protection to grant Movant relief from the
automatic stay so as to authorize Movant to recover and dispose of the Collateral. Movant
requests the right to file an amended proof of claim after liquidation of the Collateral.
                                                 6.
       Movant requests that Bankruptcy Rule 4001(a)(3) be waived.
       WHEREFORE, Movant prays that this Court:
       (a) Hold a hearing pursuant to this Motion within thirty (30) days as is required under
11 U.S.C. Section 362(e);
       (b) Grant Movant relief from the automatic stay under 11 U.S.C. Section 362(d) so as
to allow Movant to recover and dispose of the Collateral and to apply the net proceeds
generated therefrom to its claim in this case, and if the disposition results in a deficiency,
amend its claim filed in this case, subject to objection;
       (c) Rule 4001(a)(3) be waived; and
       (d) Grant such other and further relief as the Court deems to be just and proper.
       This August 9, 2017.

                                          The Law Office of
                                          LEFKOFF, RUBIN, GLEASON & RUSSO, P.C.
                                          Attorneys for Movant


                                          By: /s/Craig B. Lefkoff
                                                 Craig B. Lefkoff
                                                 Georgia State Bar No. 445045
5555 Glenridge Connector
Suite 900
Atlanta, Georgia 30342
(404) 869-6900
clefkoff@lrglaw.com
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                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

 IN RE                                         :       CHAPTER 13
                                               :
 PATRICIA RENEE WEST,                          :       CASE NO. 17-60670-CRM
                                               :
      Debtor.                                  :
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 BMW BANK OF NORTH AMERICA,                    :
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       Movant,                                 :
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 v.                                            :       CONTESTED MATTER
                                               :
 PATRICIA RENEE WEST, Debtor; and              :
 NANCY J. WHALEY, Trustee,                     :
                                               :
       Respondents.                            :
                                               :
                                               :


                                CERTIFICATE OF SERVICE

        The undersigned, Craig B. Lefkoff, hereby certifies that I am, and at all times
hereinafter mentioned, was more than 18 years of age, and that I served the MOTION FOR
RELIEF FROM AUTOMATIC STAY and NOTICE OF HEARING on the following parties 1)
electronically, if allowed by and pursuant to the requirements of local rule, or 2) by depositing
same in the United States Mail in properly addressed envelope(s) with adequate postage to all
others, as follows:


Patricia Renee West
6121 Radford Drive
Riverdale, GA 30296

Karen King
215 Pryor Street
Atlanta, GA 30303
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Nancy J. Whaley
Chapter 13 Trustee
Suite 120
303 Peachtree Center Avenue
Atlanta, GA 30303

      This August 9, 2017.

                                  The Law Office of
                                  LEFKOFF, RUBIN, GLEASON & RUSSO, P.C.
                                  Attorneys for Movant


                                  By: /s/Craig B. Lefkoff
                                         Craig B. Lefkoff
                                         Georgia State Bar No. 445045
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                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

 IN RE                                          :      CHAPTER 13
                                                :
 PATRICIA RENEE WEST,                           :      CASE NO. 17-60670-CRM
                                                :
      Debtor.                                   :
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 BMW BANK OF NORTH AMERICA,                     :
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       Movant,                                  :
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 v.                                             :      CONTESTED MATTER
                                                :
 PATRICIA RENEE WEST, Debtor; and               :
 NANCY J. WHALEY, Trustee,                      :
                                                :
       Respondents.                             :
                                                :
                                                :



                                   NOTICE OF HEARING

        PLEASE TAKE NOTICE that BMW Bank of North America has filed a Motion for
Relief from Automatic Stay and related papers with the Court seeking an order of relief from
the Automatic Stay.

PLEASE TAKE FURTHER NOTICE that the Court will hold a hearing on the Motion for
Relief from Automatic Stay, in Courtroom 1203, The Richard B. Russell Federal Building,
75 Ted Turner Drive, SW, Atlanta, Georgia at 9:30 a.m. on August 29, 2017.

Your rights may be affected by the Court’s ruling on these pleadings. You should read these
pleadings carefully and discuss with your attorney, if you have one in this bankruptcy case. (If
you do not have an attorney, you may wish to consult one.) If you do not want the Court to
grant the relief sought in these pleadings, or if you want the Court to consider your views, then
you and/or your attorney must attend the hearing. You may also file a written response to the
pleading with the Clerk at the address stated below, but you are not required to do so. If you
file a written response, you must attach a certificate stating when, how and on whom
(including addresses) you served the response. Mail or deliver your response so that it is
received by the Clerk at least two business days before the hearing. The address for the
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Clerk’s Office is: Clerk, United States Bankruptcy Court, Room 1340, U.S. Courthouse, 75
Ted Turner Drive, SW, Atlanta, Georgia 30303. You must also mail a copy of your response
to the undersigned at the address stated below.

IF THE MOTION IS FOR RELIEF FROM STAY, and a hearing on the motion for relief from
the automatic stay cannot be held within thirty (30) days, Movant waives the requirement for
holding a preliminary hearing within thirty days of filing the motion and agrees to a hearing on
the earliest possible date. Movant consent to the automatic stay remaining in effect until the
Court orders otherwise.


Dated: August 9, 2017                   Signature: /s/Craig B. Lefkoff
                                                       Craig B. Lefkoff
                                                       5555 Glenridge Connector
                                                       Suite 900
                                                       Atlanta, Georgia 30342
                                                       (404) 869-6900
                                                       clefkoff@lrglaw.com
                                                       Bar Number 445045
